850 F.2d 691Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES of America, Plaintiff-Appellee,v.Albert W. WHITE, Jr., Defendant-Appellant.
    No. 87-7373.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  April 28, 1988.Decided:  July 1, 1988.
    
      Albert W. White, Jr., appellant pro se.
      Joseph Roberts McCrorey (Office of the United States Attorney), for appellee.
      Before WIDENER, K.K. HALL and SPROUSE, Circuit Judges.
      PER CURIAM:
    
    
      1
      Albert W. White, Jr., appeals from the district court's order refusing relief under 28 U.S.C. Sec. 2255.  Our review of the record and the district court's opinion accepting the recommendation of the magistrate discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  United States v. White, CR Nos. 83-316, 84-22;  C/A Nos. 86-2406, 86-2407 (D.S.C. June 19, 1987).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED*.
    
    
      
        *
         White's motion for release filed in this court is denied
      
    
    